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.MA EN A. HUPPE, Case No. CV 04-7611 R

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Bey, ektyOseb) ENTRY OF

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APPLIED DNA SCIENCES, INC.

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Nominal Defendant.

 

Pursuant to Fed.R.Civ.P. 58(a), JUDGMENT IS HEREBY ENTERED in favor of
Plaintiff in the amount of $245,910.90.

 

ah,
OCT 1°93 2005
Dated: Chan Uo ee
Hon! R. Gary Klausner
United States District Judge
Submitted by:

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LIONEL Z. GLANCY #134180

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PROOF OF SERVICE VIA MAIL
I am employed in the County of Los Angeles, State of California." I am over the

age of eighteen (18) years and not a party to the within action. My business address, is
1801 Avenue of the Stars, Suite 311, Los Angeles, California 90067. MW

On October 18, 2005, I served the following documents described as: iS

1. APPLICATION UNDER RULE 58 FOR ENTRY OF JUDGMENT ;
MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
THEREOF

2. [PROPOSED] ENTRY OF JUDGMENT
on counsel for the parties in this action, addressed as stated below:
Mark S. Goldman Applied DNA Sciences, Inc.
Goldman Scarlato & Karon, PC ol Karin Klemm, COO
101 West Elm Street Suite 360 9229 West Sunset Blvd., Suite 830
Conshohocken, PA 19428 Los Angeles, CA 90069
Telephone: (484) 342-0700
Facsimile: (484) 342-0701 Brian Jacobs

467 South Ammez Drive, #319A

Daniel E. Doherty Los Angeles, CA 90048
Law Office of Daniel E. Doherty Telephone: (310) 770-6874
Commerce Plaza I, Suite 700 Facsimile: (818) 981-3174

7300 W. 110th Street
Overland Park, KS 66210
Telephone: (816) 448-3730
Facsimile: (816) 448-3790

By Mail: By placing true and correct copies thereof in individual sealed envelopes,
with postage thereon fully prepaid, which I deposited with my employer for collection
and mailing by the United States Postal Service. I am readily familiar with my
employer’s practice for the collection and processing of correspondence for mailing with
the United States Postal Service. In the ordinary course of business, this correspondence
would be deposited by my employer with the United States Postal Service that same day.

I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct. I declare that I am employed in the office of a
member of the bar of this Court at whose direction the service was made.

Executed on October 18, 2005, at Los Angeles, California.

fh.

Kyaa D. Heller

 

 
